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Via ECF & Facsimile: 609-989-2193 Of Counsel
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Hon. Lois Goodman, USMJ ha Mens P. penbeak
, “14: *Admitted in NJ an
Clarkson S. Fisher Federal Building and Courthouse
Room 7050

400 E. State Street
Trenton, NJ 08680

Re: Karen Anderson v. Hill Wallack LLP et al.
Docket No.: 3:16-cv-02437-BRM-LHG

Dear Judge Goodman,

As Your Honor is aware, this firm represents the Defendant with regard to the above captioned
matter.

This letter is to advise Your Honor that the parties have reached a settlement in principal in this
case and anticipate that the settlement will be finalized within the next two weeks.

The parties would like to thank Your Honor for all of the Court’s assistance in this matter.
Respectfully submitted,

DENBEAUX & DENBEAUX

/S/ Joshua W. Denbeaux

Joshua W. Denbeaux

JWD:ve

ce: Eric Kelner (via electronic mail)

Laura Conroy (via electronic mail)
